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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                    IN THE UNITED STATES DISTRICT COURT                    July 15, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                              HOUSTON DIVISION


MICHELLE LEGALL-JOHNSON                 §
and WILLIAM M. JOHNSON, JR.,            §
                                        §
                    Plaintiffs,         §
                                        §
v.                                      §
                                        §        CIVIL ACTION NO. H-22-1560
JPMORGAN CHASE BANK NATIONAL            §
ASSOCIATION, JPMORGAN CHASE &           §
CO., THUY FRAZIER, CINDY                §
MENDOZA, and McCARTHY AND               §
HOLTHUS, LLP,                           §
                                        §
                    Defendants.         §


                          MEMORANDUM OPINION AND ORDER


       On    May   2,   2022,   plaintiffs,      William     M.   Johnson,         Jr.
("Borrower")        and      Michelle       Legall-Johnson        (collectively,
"Plaintiffs"), filed this action against defendants JP Morgan Chase
Bank National Association, JP Morgan Chase             &   Co. (collectively,
"JPMC") , Thuy Frazier, Cindy Mendoza, and McCarthy and Holthus, LLP

(collectively, "Defendants"), in the 61st Judicial District Court

of Harris County, Texas. 1        On May 16, 2022, JPMorgan removed the
action to this court. 2         Pending before the court is Defendants



      Plaintiff's Original Petition, Application for a Temporary
      1

Order, Hearing Date for Temporary Injunction, Permanent Injunction,
Request for Post-Judgment Relief, and Request for Disclosure
("Original Petition"), Exhibit A-3 to Defendants JPMorgan Chase &
Co. and JPMorgan Chase Bank, N.A.'s Notice of Removal ("Notice of
Removal"), Docket Entry No. 1-5. For purposes of identification
all page numbers reference the pagination imprinted at the top of
the page by the court's Electronic Case Filing ("ECF") system.
      2
          Notice of Removal, Docket Entry No. 1.
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JPMorgan Chase & Co. and JPMorgan Chase Bank, N.A.'s Motion to
Dismiss for Failure to State a Claim ( "JPMC' s Motion")              (Docket

Entry No. 4) .          Although the motion was filed on May 23, 2022,
Plaintiffs have not responded to it. For reasons explained below,
JPMC's Motion will be granted.


                   I.    Factual and Procedural Background

     On November 20, 2007, Borrower obtained a purchase money loan
(the "Loan")       from Texas Supreme Mortgage Inc. in the original
principal amount of $474,050 for 12202 Leather Saddle Ct, Houston,
Texas 77044 (the "Property") .3          On the same date, Texas Supreme
Mortgage Inc. assigned the Deed of Trust to JPMC.4
     In     2012    Borrower    and   JPMC   signed   a   Loan   Modification
Agreement.5 The agreement provided that JPMC would defer repayment
of $145,000 to June 1, 2052. 6        In April of 2015 Borrower entered a
bankruptcy plan.7        When the bankruptcy concluded, the next payment



     3
      Note and Deed of Trust, Exhibit A-3 to Notice of Removal,
Docket Entry No. 1-5, pp. 54, 57.
     4
      Assignment of Deed of Trust, Exhibit A to JPMC's Motion,
Docket Entry No. 4-2.
     5
      Loan Modification Agreement, Exhibit B to JPMC's Motion,
Docket Entry No. 4-3, pp. 5-6.
     6
         Id. at 1-2     1 2.
     7
      Uniform Plan and Motion for Valuation of Collateral,
Exhibit C-3 to JPMC's Motion, Docket Entry No. 4-6, p. 9; Order
Confirming Chapter 13 Plan Modification and Valuing Collateral
Pursuant to 11 u.s.c. § 506, Exhibit C-4 to JPMC's Motion, Docket
Entry No. 4-7.
                                       -2-
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on the Loan was due March 1, 2018. 8          On February 1, 2018, Borrower
conveyed title to the Property to Legall-Johnson. 9          The Loan later

went into default. 10          On June 4, 2019, the Property was sold in a

foreclosure sale. 11
     On May 2,         2022,    Plaintiffs filed their Original Petition,
asserting causes of action for wrongful foreclosure, 12 fraud, 13 quiet
title, 14 promissory estoppel, 15 and civil conspiracy. 16      Defendants
removed the action on May 16, 2022, 17 and filed the pending motion
on May 23, 2022. 18


     8
      Order Deeming the Mortgage Current and Directing Debtor(s) to
Resume Payments, Exhibit C-5 to JPMC's Motion, Docket Entry
No. 4-8, p. 1.
     9
      Special Warranty Deed,           Exhibit A-3 to Notice of Removal,
Docket Entry No. 1-5, p. 77.
      see Original Petition, Exhibit A-3 to Notice of Removal,
     10

Docket Entry No. 1-5, p. 12 1 6 (referring to the Loan as being in
default); Letter from Legall-Johnson to Chase Bank, Docket Entry
No. 1-5, p. 134 (referring to the Loan as being in default).
      Substitute Trustee's Deed, Exhibit A-3 to Notice of Removal,
     11

Docket Entry No. 1-5, p. 110.
      Original Petition, Exhibit A-3 to Notice of Removal, Docket
     12

Entry No. 1-5, p. 9.
     1
      3   Id. at 12-13.
     14
          Id. at 13-14.
     15
          Id. at 14-15.
     16
          Id. at 15.
     17
          Notice of Removal, Docket Entry No. 1.
     18
          JPMC' s Motion (Docket Entry No. 4).
                                        -3-
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                             II.    Standard of Review

        Federal Rule of Civil Procedure 12(b)(6) permits a party to
move that the court dismiss a complaint for "failure to state a
claim     upon     which     relief      can    be   granted."    To   survive     a
Rule 12(b)(6) motion, a plaintiff's "[f]actual allegations must be
enough to raise a right to relief above the speculative level, on
the assumption that all the allegations in the complaint are true
(even if doubtful in fact)."              Bell Atlantic Corp. v. Twombly, 127
S.   Ct. 1955,       1965    (2007) (internal quotations          and citations
omitted).        Courts deciding on Rule 12(b)(6) motions may consider
"documents incorporated into the complaint by reference,                         and
matters of which a court may take judicial notice."                Tellabs, Inc.
v. Makor Issues      &   Rights, Ltd., 127 S. Ct. 2499, 2509 (2007).

                                   III.    Analysis

A.     Plaintiffs Have No Wrongful Foreclosure Claim

      Plaintiffs allege that JPMC's foreclosure on the Property was
invalid     because        JPMC    did    not    send   a   required   notice    to
Legall-Johnson or her attorney. l!I
      To state a claim for wrongful foreclosure, a plaintiff must
allege (1) a defect in the foreclosure sale;                      (2) a grossly
inadequate selling price; and (3) a causal connection between the
defect and the grossly inadequate selling price. Duncan v. Hindy,


     Horiginal Petition, Exhibit A-3 to Notice of Removal, Docket
Entry No. 1 -5, pp . 9 -10 11 6-7 .
                                           -4-
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590 S.W.3d 713, 723 (Tex. App.-Eastland 2019, pet. denied) (citing
Montenegro v. Ocwen Loan Servicing, LLC, 419 S.W.3d 561, 569 (Tex.
App.-Amarillo 2013, pet. denied)).       Plaintiffs recite the elements
of this cause of action,20 but they do not allege facts that would
show how the elements are met.        Plaintiffs do not state how much
the Property sold for, and therefore do not set forth the facts
necessary to establish that the foreclosure sale price was "grossly
inadequate."   See Duncan, 590 S.W.3d at 723.
     "Texas cases establish that a foreclosure price exceeding 50%
[of market value] is not grossly inadequate."        Water Dynamics, Ltd.
v. HSBC Bank USA. National Association, 509 F. App'x 367, 369 (5th
Cir. 2013). According to the Harris County Appraisal District, the
market value of the Property in 2019 was $570,594.21 The Property's
foreclosure sale price was $496,110.10.22         The Property sold for
over 86% of its fair market value.        As a matter of law, the sale
price was not grossly inadequate. Plaintiffs therefore cannot meet
the second or third elements of a wrongful foreclosure claim.             See
Duncan, 590 S.W.3d at 723.




      Original Petition, Exhibit A-3 to Notice of Removal, Docket
     20

Entry No. 1-5, p. 10 1 4.
      Harris County Appraisal District Real Property Account
     21

Information, Exhibit C to Notice of Removal, Docket Entry No. 1-16,
p. 3.
      Substitute Trustee's Deed, Exhibit A-3 to Notice of Removal,
     22

Docket Entry No. 1-5, p. 110.
                                   -5-
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B.      Plaintiffs Have No Quiet Title Claim

        Plaintiffs' Original Petition sets forth the elements of a
quiet-title action, but the "quiet title" section of the Original
Petition does not set forth any facts that would support quieting
title in Plaintiffs' favor.23            The Original Petition asserts that
Legall-Johnson "has a right of ownership" and that the debt owed on
the     Property     is     "invalid,"   but   it   does   not   explain    why. 24
"Threadbare        recitals    of    the elements of a cause of            action,
supported by mere conclusory statements, do not suffice." Ashcroft
v. Igbal, 129 S. Ct. 1937, 1949 (2009).
        "Under Texas law, the elements of a cause of action to quiet
title are:         (1) an interest in a specific property;         (2) title to
the property is affected by a claim by the defendant; and (3) the
claim, although facially valid, is invalid or unenforceable."
Cook-Bell v. Mortgage Electric Registration Systems, Inc., 868
F. Supp. 2d 585, 591 (N.D. Tex. 2012). A "necessary prerequisite"
to recovery of title is tender of whatever amount is owed on the
note.         Id. (citing Fillion v. David Silvers Company, 709 S.W.2d
240, 246 (Tex. App.-Houston [14th Dist.] 1986, writ ref'd n.r.e.)).
        Plaintiffs do not meet the first element because neither
plaintiff has an interest in the Property.                 At the time of the



      Original Petition, Exhibit A-3 to Notice of Removal, Docket
        23

Entry No. 1-5, pp. 13-14 1 D.
        24
             Id. at 13-14   1 D.4.
                                         -6-
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foreclosure sale, the Borrower had no interest in the Property
because     he   had   conveyed    his     interest   to   Legall-Johnson.25
Legall-Johnson's interest in the Property was extinguished by the
foreclosure sale.      Because Plaintiffs have not stated a claim for
wrongful foreclosure, their quiet title claim fails to the extent
that it depends on the foreclosure being wrongful.
       Moreover, Plaintiffs do not allege that they tendered the
amount of the debt to JPMC.                They are therefore missing a
"necessary prerequisite" to recover title.              See Cook-Bell, 868
F. Supp. 2d at 591.       See also Matter of Parker, 655 F. App'x 993,
995 n.6 (5th Cir. 2016) (noting in the context of a quiet title
claim that "' [a] valid and legal tender of money consists of the
actual production of the funds and offer to pay the debt involved'"
and that tender "must not be dependent on another variable; it must
be unconditional").
      Plaintiffs have failed to state a claim to quiet title.

C.    Plaintiffs' Promissory Estoppel Claim Is Barred by the Statute
      of Frauds

      Plaintiffs assert a claim for            "Promissory    Estoppels and
Negligence, "26 but Plaintiffs neither recite the elements of a
negligence claim nor refer to any negligent conduct by Defendants


      Special Warranty Deed,
      25
                                     Exhibit A-3 to Notice of Removal,
Docket Entry No. 1-5, p. 77.
      Original Petition, Exhibit A-3 to Notice of Removal, Docket
      26

Entry No. 1-5, pp. 14-15.
                                     -7-
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in describing this claim.         Plaintiffs allege that JPMC promised
Legall-Johnson that "it would not foreclose on her home and in
fact, would reset up the payment on the Property to be paid monthly
by Dr. Legall, in lieu of William Johnson." 27         Because Plaintiffs
provide no record of this alleged promise, the court must assume
that Plaintiffs are alleging that the promise was made orally.
     The Loan Modification Agreement exceeds $50,000 in value 28 and
is therefore subject to the statute of frauds.            See Tex. Bus.   &

Com. Code     §   26.02 (b)   ( "A loan agreement in which the amount
involved .        . exceeds $50,000 in value is not enforceable unless
the agreement is in writing and signed by the party to be bound or
by that party's authorized representative.").             The statute of
frauds applies to modifications of loan agreements, including
alleged agreements to forego or delay the right to foreclose.
Martins v. BAC Home Loans Servicing, L.P., 722 F.3d 249, 257 (5th
Cir. 2013).        "Promissory estoppel may overcome the statute-of-
frauds requirement in Texas, but 'there must have been a promise to
sign a written contract which had been prepared and which would
satisfy the requirements of the statute of frauds.'" Id. at 256-57
(quoting Beta Drilling, Inc. v. Durkee, 821 S.W.2d 739, 741 (Tex.
App.-Houston [14th Dist.] 1992, writ denied)).         Plaintiffs fail to
identify a written agreement that JPMC promised to sign that would




      Loan Modification Agreement, Exhibit B to JPMC's Motion,
     28

Docket Entry No. 4-3, p. 2.
                                    -8-
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inhibit JPMC's right to foreclose and therefore fail to state a
claim for promissory estoppel.


D.     Plaintiffs Have No Fraud Claim

       Plaintiffs allege that JPMC committed fraud because JPMC made
"false material misrepresentations" that Legall-Johnson "did not
have to refinance the debt but could keep the loan with Chase and
make monthly payments under the Chase Succession program." 29
       "In alleging fraud or mistake,           a party must state with
particularity the circumstances constituting fraud or mistake."
FED. R. CIV. P. 9(b).          The Fifth Circuit has held that this rule
requires       a   plaintiff     to   "'state   with    particularity       the
circumstances' of the allegedly fraudulent conduct--at minimum 'the
who, what, when, arid where."'          Afshani v. Spirit SPE Portfolio

2006-1, L.L.C., No. 21-10137,          2022 WL 964201,     at *3 (5th Cir.
March 30, 2022) (quoting Williams v. WMX Technologies, Inc., 112
F.3d 175, 178 (5th Cir. 1997).          Plaintiffs' fraud claim does not
set forth the time or place of the alleged misrepresentations, nor
does it identify the person who made them.             The claim therefore
fails to meet Rule 9(b)'s pleading standards and will be dismissed.

E.    Plaintiffs Have No Civil Conspiracy Claim

      Plaintiffs allege that defendants Cindy Mendoza and Thuy
Frazier "agreed to foreclose on Plaintiff's home knowing that

      29
           Original Petition, Docket Entry No. 1-5, p. 12       1 C.l.
                                      -9-
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Plaintiff had not gotten notice of the foreclosure sale[,]" and
that the defendants were therefore part of a civil conspiracy.30
     Civil conspiracy is a derivative tort; liability for a civil
conspiracy depends on participation in an underlying tort.                Agar
Corporation,    Inc. v. Electro Circuits International I              LLC, 580
S.W.3d 136, 140-42 (Tex. 2019); Homoki v. Conversion Services,
Inc., 717 F.3d 388, 402 (5th Cir. 2013).             Because Plaintiffs have
failed to state a plausible claim for any underlying tort, they
also fail to state a claim for civil conspiracy.


                       IV.    Conclusion and Order

     For the reasons explained above, the court concludes that
Plaintiffs     have   not    stated    a     plausible   claim   to    relief.
Accordingly, Defendants JPMorgan Chase           &   Co. and JPMorgan Chase
Bank, N.A.'s Motion to Dismiss for Failure to State a Claim (Docket

Entry No. 4) is GRANTED, and this action will be dismissed with

prejudice.

     SIGNED at Houston, Texas, on this the 15th day of July, 2022.




                                                      SIM LAKE
                                      SENIOR UNITED STATES DISTRICT JUDGE


      Original Petition, Exhibit A-3 to Notice of Removal, Docket
     30

Entry No. 1-5, p. 15.
                                      -10-
